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                                          UNITED STATES DISTRICT COURT
                                                 PRODATION OFFICE
                                             DISTRICT OF NEW JERSEY                                100 FED RAL.
     WILJREDO TORRES
                                                      Fcb”’ 17 2011                                   P.O. DOX 2097
                                                                                                  PATERSNJJ094097
     ThOMAS S. lARSON                                       I
SUPEVISING ULPROOATIONOffICSR                                                                       ,j• (73) .1092


          Honorable William H. Wails
          United States District Court
          Martin Luther King, Jr. Federal Building
          and United States Courthouse
          50 Walnut Street, Room 4046
          Newark, NJ 07102

                                                         RE:     MADMON, Guy
                                                                 Did. No. Cr. 09-cr-0228
                                                                 Reanesi Sb, Withdrawal of a Violation of
                                                                 Supervised Release



          Dear Judge Walls:

          On June 4,2004, the above captioned ofInder was sentenced by the Honorable Kent J. Dawson, U.S.DJ.
          in the District of Nevada to 97 months imprisonment and 3 years supervised release for Conspiracy to
          Possess with Intent to Distribute MDMA and Possession with Intent to Distribute a Controlled Substance.
          On July 14, 2005, this sentence was reduced to 70 months imprisonment to be followed by 3 years
          supervised release. The special conditions ofsupervision Include drug testing/treatment, search/seizure,
          and $200 special assessment. He has been supervised in the District ofNew Jersey since his release from
          custody on August 7, 2007 and a transfer ofjurisdlction was completed on March 30, 2009.
          The purpose ofthis letter is to request that the Violation of Supervised Release submitted to Your Honor
          be withdrawn. The basis for the violation was a new charge ofConspiracy to Commit Credit Card Fraud
          and association with convicted felons. The Essex County Prosecutor’s Office has administratively
          dismissed the charge against the defendant due to lack of evidence. Therefore, it will be difficult for
          Probation pursue this violation. While Probation acknowledges that the defendant admitted to having
          contact with a convicted felon while on supervision, he did complete a three year term ofsupervised
          release with relative compliance. It is the recommendation ofProbation that this violation be withdrawn.
          Please indicate below if Your Honor concurs with Probation’s recommendation.
          As always, we will make ourselves available should the Court wish to discuss this matter.
                                                                  Respectfully submitted,
                                                                  WILFREDO TORRES, Chief
                                                                  U.S. Probation Officer




          /db
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THE CURT ORDERS:


L LI Violation of Supervised Release Summons signed on September 14, 2010 is withdrawn.

[ ] Violation of Supervised Release Summons signed on September 14,
    Date of   Hearing
